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 1   XAVIER BECERRA
     Attorney General of California
 2   ISMAEL A. CASTRO, State Bar No. 85452
     Supervising Deputy Attorney General
 3   DARRELL W. SPENCE, State Bar No. 248011
     KIRIN K. GILL, State Bar No. 259968
 4   Deputy Attorneys General
     State Bar No. 259968
 5     1300 I Street, Suite 125
       P.O. Box 944255
 6     Sacramento, CA 94244-2550
       Telephone: (916) 210-6172
 7     Fax: (916) 324-5567
       E-mail: Darrell.Spence@doj.ca.gov
 8     E-mail: Kirin.Gill@doj.ca.gov
     Attorneys for Defendants
 9   California Department of Education, Tony
     Thurmond, in his official capacity as the State
10   Superintendent of Public Instruction, and State
     Board of Education
11

12                           IN THE UNITED STATES DISTRICT COURT

13                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

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     EMMA C., et al.,                                  3:96-cv-04179-VC
17
                                          Plaintiffs, STATE DEFENDANTS’ RESPONSE TO
18                                                    COURT’S REQUESTS REGARDING
                   v.                                 ADDITIONAL INFORMATION AT
19                                                    PHASE 2 HEARING

20   THURMOND, et al.,                              Date: April 29, 2019 and May 1, 2019
                                                    Time: 9:30 a.m.
21                                      Defendants. Judge: The Honorable Vince Chhabria

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       STATE DEFENDANTS’ RESPONSE TO COURT’S REQUESTS AT PHASE 2 HEARING (3:96-cv-04179-VC)
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 1          Defendants California Department of Education (“CDE”), Tony Thurmond, in his official

 2   capacity as the State Superintendent of Public Instruction, and State Board of Education

 3   (collectively, “State Defendants” or the “State”) hereby submit the following information in

 4   accordance with the Court’s requests during the April 29, 2019 portion of the Phase 2 hearing:

 5          As for the requests seeking additional information regarding Differentiated Assistance,

 6   additional information can be located at the following links:

 7          (1) https://www.cde.ca.gov/sp/sw/t1/csss.asp; and

 8          (2) https://www.cde.ca.gov/ta/ac/cm/leaproposedcrit2018.asp.

 9          As for the requests seeking additional information regarding Dashboard aggregation and

10   disaggregation, additional information can be located at the following link:

11   https://www.cde.ca.gov/ta/ac/cm/index.asp.

12          Finally, the Court raised questions regarding (1) whether CDE’s Comprehensive Review

13   selection methodology selects the worst performing local educational agencies in California for

14   the most intensive level of review; (2) whether the exclusion of preschool achievement as a

15   selection criteria for Performance Indicator Review means that local educational agencies that are

16   not meeting targets on the six elements of the preschool indicator are not selected for additional

17   monitoring; and, (3) whether the application of a minimum N-size criteria results in CDE

18   “failing” to monitor the outcomes of a majority of students with disabilities in the State. The

19   answers to those questions are attached hereto as Exhibit 1.

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       STATE DEFENDANTS’ RESPONSE TO COURT’S REQUESTS AT PHASE 2 HEARING (3:96-cv-04179-VC)
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 1   Dated: April 30, 2019                         Respectfully Submitted,

 2                                                 XAVIER BECERRA
                                                   Attorney General of California
 3                                                 ISMAEL A. CASTRO
                                                   Supervising Deputy Attorney General
 4

 5

 6                                                 /s/ Darrell W. Spence
                                                   /s/ Kirin K. Gill
 7                                                 DARRELL W. SPENCE
                                                   KIRIN K. GILL
 8                                                 Deputy Attorneys General
                                                   Attorneys for Defendants
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       STATE DEFENDANTS’ RESPONSE TO COURT’S REQUESTS AT PHASE 2 HEARING (3:96-cv-04179-VC)
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                     EXHIBIT 1
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The purpose of this document is to address three questions raised by the Court at the April 29, 2019
Phase 2 hearing. First, does the methodology CDE uses to select local educational agencies (LEAs) for
Comprehensive Review select the “right” LEAs; i.e., does the methodology truly select the worst-
performing LEAs in the state for the most intensive level of review? Second, does CDE’s policy decision
to exclude preschool achievement as a selection criteria for Performance Indicator Review mean that
LEAs that are not meeting targets on the six elements of the preschool indicator are not selected for
additional monitoring, and therefore are given a “meets requirements” determination? Third, does the
use of a N-size criteria mean that CDE is not monitoring for FAPE in the LRE for a significant number of
children in California?

Question 1: Does CDE’s Comprehensive Review selection methodology select the worst performing
LEAs in California for most intensive level of review?

Answer:
Yes. For the 2018-2019 monitoring year, CDE selected 35 LEAs for Comprehensive Review. The
selection is based on a score of 62% or below. As discussed by the Monitor in his report and at the April
29, 2019 hearing, there were an additional 94 LEAs that scored between 62.1% and 64.99% that CDE did
not select for Comprehensive Review. Below is a comparison of data from those groups on 8 of the 28
selection elements for Comprehensive Review. At the recommendation of the Court, CDE also included
an analysis of LEAs that had a selection score of between 65% and 75%; there were 345 such LEAs.

Comparison of LEAs selected for Comprehensive Review (62%) to those LEAs scoring between 62.1% and
64.99%.

Thirty-five LEAs selected for Comprehensive Review, using a 62% cut score
Number of Students with Disabilities in LEAs selected for Comprehensive Review: 162,580. 1
22 Unified School Districts
7 High School Districts
3 Elementary School Districts
3 Charter Schools

Ninety-four LEAs, between 62.1% and 64.99% score
Number of Students with Disabilities in LEAs selected for Comprehensive Review: 65,565.
18 Unified School Districts
4 High School Districts
5 Elementary School Districts
67 Charter Schools

Assessment Comparison
More LEAs selected for Comprehensive Review are in red than LEAs not selected in the next higher
scores comparison groups.




1
 Los Angeles Unified was selected for Comprehensive Review. The number of children with disabilities in Los
Angeles Unified is 67,977.

                                                                                                          pg. 1
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           LEA Dashboard Color for English Language Arts
                          Assessment
                                                                                        66.67%
                                                                                             61.43%



                                                                          43.56%                         45.45%

                                                                     35.71%
                                                                33.33%




                                              10.61%
                                          2.86%
      0.00% 0.00% 0.38%           0.00%

           GREEN                        YELLOW                      ORANGE                         RED

                          CR List (35 LEAs)       62-64.99% (94 LEAs)    65-75% (345 LEAs)



Using the Comprehensive Scoring and a cut score of 62%, LEAs selected for review are 5.24% more red
on the on the Dashboard than higher scoring LEAs for the English Language Arts Assessment.


                   LEA Dashboard Color for Mathematics
                              Assessment
                                                                                   80.00%

                                                                                            62.86%
                                                                                                     52.49%

                                                                37.55%
                                                       31.43%

                                              16.67%
                          9.96%
        3.33% 5.71%

               YELLOW                                  ORANGE                                RED

                          CR List (35 LEAs)       62-64.99% (94 LEAs)    65-75% (345 LEAs)



Using the Comprehensive Scoring and a cut score of 62%, LEAs selected for review are 17.14% more red
on the on the Dashboard than higher scoring LEAs on the CR selection calculation for the Mathematics
Assessment.



                                                                                                                  pg. 2
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Suspension Comparison
Seventy-four percent (74%) of LEAs in the selection group for Comprehensive Review are Red or Orange
in the Dashboard, while 58% of LEAs in the next grouping (with a selection score greater than 62%) are
Red and Orange for the Dashboard for suspension.

                                   LEA Dashboard Color for Suspension
                                                                               41.94%     41.07%

                                                                                                             36.17%
                                                                                                        32.26%




                                                                  20.83%             21.28%                        21.13%
                                                     19.35%
                                   15.96%
                                                           13.83%
         12.77%
               8.93%                   8.04%

     3.23%                   3.23%


          BLUE                     GREEN                   YELLOW                   ORANGE                      RED




Least Restrictive Environment
LEAs selected for Comprehensive Review have fewer students ages 6-22 in a regular class and more
students in more restrictive settings than those LEAs scoring greater than 62%.


                  Average Least Restrictive Environment for Children Ages 6-22 by LEA
        Students in a Regular Class Greater than 80% of the day     Students in a Regular Class Less than 40% of the day
        Students in a Separate School or Placement
                                                  74.73%
                                                                                              65.02%

        49.12%



                  25.72%

                                                                                                       15.05%
                                                           11.23%
                           5.19%
                                                                       1.10%                                     2.01%

             CR List (35 LEAs)                       62-64.99% (94 LEAs)                         65-75% (345 LEAs)




                                                                                                                           pg. 3
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LEAs selected for Comprehensive Review have fewer students ages 3-5 who receive a majority of
services in a regular early childhood program; however, fewer students are in a separate setting than
LEAs scoring greater than 62%. The difference between the two groups for students with disabilities
ages 3-5 in a separate setting is 1.83%.


               Average Least Restrictive Environment for Children Ages 3-5 by LEA

                                                                                         51.00%
           44.72%                                   46.30%

                                                              38.95%
                       37.12%                                                                       35.99%




            CR List (35 LEAs)                      62-64.99% (94 LEAs)                   65-75% (345 LEAs)

                    Children in a Regular Preschool Program      Children in Separate Preschool Program




Monitoring Activities
LEAs not selected for Comprehensive Review may be selected for other monitoring activities. All of the
LEAs scoring between 62.1-64.99% are in one or more monitoring activities other than Comprehensive
Review. The following chart shows the monitoring activities for those LEAs:

 Monitoring Activity                                   Number of LEAs
 Disproportionate                                           18
 Significantly Disproportionate                             8
 Noncompliant Records                                       89
 Performance Indicator Review                               94




                                                                                                             pg. 4
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Question 2: Does the exclusion of preschool achievement as a selection criteria for Performance
Indicator Review mean that LEAs that are not meeting targets on the six elements of the preschool
indicator are not selected for additional monitoring?

Answer:
No. There were 191 LEAs that did not meet one or more of the preschool assessment targets. 2 All of
those LEAs are involved in one or more monitoring activities, 3 and none of them will receive an annual
determination of Meets Requirements.


             2018-2019 Monitoring Activities for LEAs Not Meeting Preschool
                                 Assessment Targets
             172
                                   145                       137




                                                                                                            21
                                                                                       5

    Performance Indicator   Disproportionality         Data Identified             Significant      Comprehensive Review
           Review                                      Noncompliance           Disproportionality


Of the 172 LEAs selected for Performance Indicator Review, 99 did not meet targets for preschool least
restrictive environment.


                   Annual Determination for LEAs Not Meeting Preschool Targets
                                                 Needs Assistance        Needs Intervention




                                                              23




                                                                    168




2
  There are six preschool assessment targets. 41 LEAs missed all six targets, 22 missed five targets, 21 missed four
targets, 45 missed three targets, 37 missed two targets, 25 missed one target.
3
  180 of the LEAs are involved in two or more activities and 108 are involved in three or more.

                                                                                                                    pg. 5
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Question 3: Does the application of a minimum N-size criteria result in CDE “failing” to monitor the
outcomes of a majority of students with disabilities in the State?

Answer:
No. As noted at the April 29, 2019 hearing, CDE applies an N-size criteria in the application of its
indicator calculations that are part of monitoring selection. Though it may appear concerning that 1,100
Districts and Charter Schools were excluded from the Dashboard calculations for the determination of a
color, further analysis shows that the LEAs that were given a color represented 92% of all students with
disabilities in California.

The chart below demonstrates that in a sampling of three FAPE indicators, CDE is consistently
aggregating over 92% of all students with disabilities in the State into LEA calculations.


                  57,739                                   37,541                                  27,644




                 737,308                                   759,506                                767,403




   English Language Arts and Mathematics               Suspension                       Least Restrictive Environment
                Assessments

           Students in LEAs that Meet the Minimum N-Size       Students in LEAs that Do Not Meet the Minimum N-Size

As noted at the April 29, 2019 hearing, CDE is developing a current small LEA selection methodology for
application in the 2019-2020 monitoring year.




                                                                                                                 pg. 6
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                              CERTIFICATE OF SERVICE
Case Name:      Emma C., et al. v. Thurmond,              No.    3:96-cv-04179-VC
                et al.

I hereby certify that on April 30, 2019, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
STATE DEFENDANTS’ RESPONSE TO COURT’S REQUESTS REGARDING
ADDITIONAL INFORMATION AT PHASE 2 HEARING
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California the foregoing is true
and correct and that this declaration was executed on April 30, 2019, at Sacramento, California.


                K. Spight                                          /s/ K. Spight
                Declarant                                            Signature

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